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                                     No. 23-13706-JJ

           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT


                          U NITED S TATES OF A MERICA ,
                                                Plaintiff-Appellee,


                                           v.

                                J OSHUA H ERRERA ,
                                                Defendant-Appellant.



                 On appeal from the United States District Court
                      for the Northern District of Georgia
                        No. 1:20-CR-00079-SDG-RDC-1

                       BRIEF OF APPELLEE
                  THE UNITED STATES OF AMERICA


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                      United States of America v. Joshua Herrera

            CERTIFICATE OF INTERESTED PERSONS
           AND CORPORATE DISCLOSURE STATEMENT

      In addition to those listed in Appellant’s brief, the following people
      and entities have an interest in the outcome of this appeal:


      Mendel, Gabriel A., Assistant U.S. Attorney




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           STATEMENT REGARDING ORAL ARGUMENT

      Oral argument is unnecessary in this case. The issues and positions of

      the parties, as presented in the record and briefs, are sufficient to
      enable the Court to reach a just determination.




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                                  No. 23-13706-JJ

           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT


                         U NITED S TATES OF A MERICA ,
                                               Plaintiff-Appellee,


                                          v.

                               J OSHUA H ERRERA ,
                                               Defendant-Appellant.




                    STATEMENT OF JURISDICTION

      (A) The district court had subject matter jurisdiction over the
          underlying criminal case based on 18 U.S.C. § 3231.
      (B) The court of appeals has jurisdiction over this direct appeal from
          the judgment and sentence of the district court, under 18 U.S.C.
          § 3742 and 28 U.S.C. § 1291.
      (C) While not jurisdictional, the notice of appeal was timely filed on
          November 8, 2023, within 14 days of the entry of the district
          court’s judgment and commitment order, on October 27, 2023.
          Fed. R. App. P. 4(b)(1)(A).
      (D) This appeal is from a final judgment and commitment order that
          disposes of all the parties’ claims in this criminal case.




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                     STATEMENT OF THE ISSUES

        1. Though the district court allowed Herrera’s expert witness to

           testify at length regarding autism and Herrera’s diagnosis, it
           followed binding Circuit precedent and excluded the expert’s
           proposed testimony that his assessment of Herrera showed no

           indication of sexual attraction to children. Did the district
           court abuse its discretion in excluding this testimony under
           Rules of Evidence 704(b) and 403?

        2. Did the district court abuse its discretion in sustaining a single
           objection during the testimony of Herrera’s girlfriend, in which
           defense counsel asked her how she groomed herself before sex?

        3. Was any error in limiting testimony about Herrera’s general
           sexual interest in children harmless, given the overwhelming
           evidence of Herrera’s guilt?




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                         STATEMENT OF THE CASE
         A. Course of Proceedings and Disposition Below

         A grand jury in the Northern District of Georgia charged Herrera
      with one count of attempted enticement of a child to engage in child
      molestation in violation of 18 U.S.C. § 2422(b). (Doc. 10).

         At trial, a jury convicted Herrera. (Docs. 127, 141-144). The
      district court sentenced Herrera to 235 months in prison. (Docs. 146,
      147). Herrera is currently incarcerated.

         B. Statement of the Facts
             1. Offense Conduct

         As part of an undercover operation, FBI Special Agent Megan
      Perry placed an ad on Fetlife.com—a website that hosted classified ads
      for people looking for sexual fetishes. (Doc. 142 at 395-399, 401-402,
      Gov. Ex. 10).1 With the username “Daughter_Lover 11,” SA Perry
      titled her post “No limits fun. Atlanta.” (Id. at 399-401). “No limits”
      reflects no age limits or no limits to the activities. (Id.). The body of
      the ad stated, “Mom here looking for a like minded, no limits perv.
      Hit me up on Kik. Michelle P 00.” (Id.). Kik is a mobile application
      for cellular phones like text messaging. (Id. at 401).


         1
          Transcript citations refer to the page number entered by the
      court reporter.



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         Two days after posting the ad, SA Perry received a message from
      Josh C. with the username “Arkanandra.” (Id. at 403-404, Gov. Ex.

      11). SA Perry later determined that the account belonged to Herrera,
      whose previous name was Joshua Crucillo. (Id. at 405).
         Herrera’s initial response was “Hey! I saw your post on Fet. What

      are you looking for?” (Id. at 406). SA Perry responded, ““Hey! How are
      you? I’m looking for something taboo with my daughter that I realize
      isn’t for everyone, any age limits?” (Id.). Herrera responded, ““Not

      particularly. What is it? And I’m doing great. What’s the thing you
      want to do?” (Id.).
         Over the course of the next three months, SA Perry and Herrera

      exchanged more than 400 messages. (Id. at 404, Gov. Ex. 11). SA
      Perry—going by “Michelle”—explained to Herrera that she had an 11-
      year-old daughter named “Emmy” and was looking for someone to
      teach her daughter how to be with a man and explore her body. (Id. at
      408-409, 411). When Herrera suggested he was interested in Michelle
      as well, SA Perry explained that it was not about her, it would just be
      with her 11-year-old daughter and that she wouldn’t even need to be
      in the room. (Id. at 410-411, 413).
         Herrera asked for a picture of “Emmy” and SA Perry sent an image
      of a young girl laying on a bed. (Id. at 412). Herrera then explained his
      lesson plans for this child, how he would introduce this child to sex.



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      (Id. at 412-427). Herrera said, “She can expect someone to lead her
      and answer her questions. It’s not my first time and I’m willing to

      teach.” (Id. at 414). When SA Perry asked if he would be
      uncomfortable with “Emmy” being 11-years-old, to give Herrera a
      chance to back out, Herrera responded, “I’m not uncomfortable.”

      (Id.).
           Herrera said that he wanted “Emmy” to be naked with him
      because she should be comfortable with her own anatomy as well as

      his, that he will teach her giving and receiving oral sex, her sensitive
      spots, a man’s sensitive spots. (Id. at 418-419, 426). Herrera explained
      that this would eventually lead to penetration because the 11-year-old

      girl was not having her period yet, that he would use a condom
      because he would like to show her how to put one on, but he also
      wanted to show her what it feels like without one on. (Id. at 419, 427).
      When SA Perry wondered about Herrera being clean of sexually-
      transmitted diseases, he responded, “I have papers saying I am.” (Id. at
      419).
          The conversation progressed and led to plans to meet up in
      person. (Id. at 421-432). Herrera asked about when the daughter gets
      out of school, asked if she’s in middle school, and said he hopes she
      doesn’t have too much homework on the day they plan to meet up.
      (Id. at 421-423, 429-430). They eventually decided to meet at a Waffle



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      House at 2250 Peachtree Industrial Boulevard, Duluth, Georgia. (Id.
      at 428-432, Gov. Ex. 1). Herrera got into his car and drove over 50

      miles from Athens, Georgia. (Id. at 368, Gov. Exs. 2, 3). When
      Herrera arrived, he was met in the parking lot by law enforcement
      agents and taken into custody. (Id. at 369-371, 432).

         Law enforcement agents observed a cellphone sitting on the center
      console of Herrera’s car and seized it. (Id. at 375-381, Gov. Exs. 5, 6,
      7). They obtained a warrant to search Herrera’s phone and found the

      Kik application installed, registered to Josh C, and containing
      messages with SA Perry posing as “Michelle.” (Id. at 445-450, Gov. Ex.
      9). Herrera’s phone also had a web browser open to a document

      containing the results of Joshua Crucillo’s STD test. (Id. at 450). The
      phone also contained 30 images of child erotica and suspected child
      pornography. (Id. at 451-459, Gov. Ex. 13).
         At trial, Herrera testified in his own defense. (Doc. 143 at 586). He
      claimed that he traveled to the Waffle House because he “thought
      there was a child in danger.” (Id.). He admitted having a Fetlife
      account, and that he responded to SA Perry’s post. (Id. at 595-596).
      He admitted participating in the Kik message conversation that SA
      Perry testified about, but claimed he was attempting to identify the
      mother so that he could save the child, though he never contacted
      police or otherwise reported the post or conversations. (Id. at 596-610,



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      624-629). He claimed not to know how child erotica or suspected
      child pornography photos got on his phone. (Id. at 614).

         Herrera’s girlfriend, Raina Cundiff testified. (Id. at 633-639).
      Herrera’s counsel asked her “Before you had sex, was there anything
      about your appearance or the way that you had groomed yourself that

      you mentioned to him?” (Id. at 635). The government objected to this
      question and the district court sustained the objection. (Id.).

            2. Expert Testimony
                a. Pre-Trial Motions

         The government did not call an expert witness at trial. While

      preparing for trial, Herrera’s counsel learned from his mother that
      Herrera may suffer from autism spectrum disorder (ASD). (Doc. 90 at
      1). Herrera’s counsel sent the Government a report pertaining to a
      psychological evaluation of Herrera titled “Mental State at the Time of
      the Alleged Crimes” written by Dr. Tyler Whitney, a licensed clinical
      psychologist. (Doc. 102 at 1). Herrera explained that he wanted Dr.
      Whitney to testify to the following:

         Herrera has ASD, including an explanation of the methodology
          used to reach this diagnosis. (Doc. 109 at 1).
         Herrera did not receive a formal ASD diagnosis as a child,
          including the reason for the delayed diagnosis. (Id.)
         Herrera exhibits certain traits common in individuals with ASD.
          (Id. at 2).



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         Herrera’s behavior could be consistent with the inability of many
          autistic persons to imagine how others might view certain
          behavior. (Id. at 2-3).
         Herrera’s behavior, though it may appear unusual to non-autistic
          persons, could fit Herrera’s statement that he was trying to save the
          “daughter.” (Id. at 3-4).
         Herrera’s psychosexual assessment showed no indications that he
          has a sexual interest in children of either gender. (Id. at 4).

      The government moved to exclude Dr. Whitney’s testimony on the
      grounds that it violates the Insanity Defense Reform Act (IDRA) and

      Federal Rules of Evidence 401, 402, 403, and 704(b). (Docs. 102,
      110).
         In response, Herrera argued that he did not intend to argue that

      he could not form the requisite specific intent. (Doc. 104 at 2-3).
      Instead, Herrera claimed that Dr. Whitney’s testimony will provide
      the jury with an “understanding of [ ] Herrera’s neurological deficits,”
      which, Herrera argued, is relevant to the jury’s determination of
      whether he formed the requisite intent to entice a child. (Id).
         After reviewing this Court’s precedent, the district court found
      that “allowing this evidence for the limited purpose of evaluating
      Herrera’s mens rea to commit the charged offense does not
      impermissibly side-step the IDRA.” (Doc. 111 at 10).
         By contrast, the district court found that Herrera’s plan “to have
      Whitney testify to his finding that Herrera’s psychosexual assessment



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      showed no indications that he has a sexual interest in children”
      violated Rule 704(b). (Id. at 11). The court further held that—even if

      admissible under Rule 704(b)—”its probative value is substantially
      outweighed by the danger of unfair prejudice and is excluded under
      Fed. R. Evid. 403.” (Id.).

         In particular, the district court found that “[t]he fact that Herrera’s
      assessment showed no indication of sexual attraction to children has
      very little probative value to the questions the jury must resolve.” (Id.

      at 13). But the “potential prejudicial impact” was “substantial and
      undue; it could confuse the issues and mislead the jury by causing it
      to conflate Herrera’s general propensity to commit sexual crimes

      against children with his specific intent to commit the crime with
      which he is charged in this case.” (Id.). Thus, the court found, “Rule
      403 alone is a sufficient and independent basis to exclude Dr.
      Whitney’s proffered testimony in this regard.” (Id. at 14).

                b. Dr. Whitney’s Testimony

         Dr. Whitney was called as the defense’s first witness and qualified
      as an expert in the area of clinical psychology with a specialty in
      autism spectrum disorder. (Doc. 143 at 504-511). Dr. Whitney

      testified at length about ASD generally, how ASD affects a person’s
      demeanor, and how ASD is diagnosed. (Id. at 512-521). Dr. Whitney
      also testified about being hired to evaluate Herrera, his determination



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      that Herrera had ASD, his observations of Herrera, and specific
      autistic traits that he found in Herrera. (Id. at 522-541).

            3. Sentencing

         Before sentencing, the Probation Office prepared a Presentence

      Report (PSR), to which the parties had no objections. (Doc. 156 at 4).
      Though the PSR did not recommend an obstruction enhancement,
      the district court found that it applied given Herrera’s perjured
      testimony that his intent in traveling to the Waffle House was to save
      a child. (Id. at 8-10). With that enhancement included, Herrera’s
      Guidelines range was 292 to 365 months in prison. (Id. at 10-11). The

      government argued for a low-end Guidelines sentence. (Id. at 11-14).
      Dr. Whitney testified again on Herrera’s behalf. (Id. at 16-21).
      Herrera’s counsel argued for a sentence of 200 months. (Id. at 23-24).
      The court sentenced Herrera to 235 months in prison and set forth its
      reasoning under the § 3553(a) factors. (Id. at 26, 28-31).

         C. Standard of Review

      The district court’s decision to admit or exclude evidence is reviewed
      for abuse of discretion. United States v. Reeves, 742 F.3d 487, 501 (11th

      Cir. 2014).




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                     SUMMARY OF THE ARGUMENT

         Though the district court allowed Herrera’s expert to testify at
      length about autism and Herrera’s diagnosis, the court excluded

      proffered expert testimony about a psychosexual assessment that
      purported to show no indications that Herrera has a sexual interest in
      children. This proposed testimony conflicted with this Court’s

      precedent and Rules of Evidence 704(b) and 403, and the district
      court did not abuse its wide discretion in excluding it.
         The district court then allowed Herrera’s girlfriend to testify about

      their six-year sexual relationship, their consumption of pornography,
      and the pornography she observed on his phone and computer. The
      district court did not abuse its discretion in sustaining a single

      objection during the testimony of Herrera’s girlfriend, in which
      defense counsel asked her how she groomed herself before sex.
         Even if the district court abused its discretion, any error was
      harmless given the overwhelming evidence of Herrera’s guilt,
      including months of text messages with an undercover FBI agent,
      child erotica images found on Herrera’s phone, and Herrera’s own

      testimony at trial, which the jury was free to disbelieve.
         Herrera’s conviction should be affirmed.




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          ARGUMENT AND CITATIONS OF AUTHORITY
      1. The district court did not abuse its discretion in limiting Dr.
         Whitney’s expert testimony under Rules 704(b) and 403.

         The district court kept an open mind about allowing Herrera to
      call an expert psychologist and allowed—over the government’s
      objection—extensive testimony about ASD generally and Herrera’s

      ASD diagnosis and traits specifically.
         But the district court excluded Dr. Whitney’s proffered expert
      testimony about a psychosexual assessment that purported to show no

      indications that Herrera has a sexual interest in children. As discussed
      below, this proposed testimony conflicted with this Court’s precedent,
      Rules 704(b) and 403, and was properly excluded.

         This Court reviews the exclusion of expert testimony for abuse of
      discretion. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 141–43 (1997). The
      “considerable leeway” accorded to a district judge requires this Court
      to defer to the judge’s decision on expert testimony, “unless it is
      manifestly erroneous.” Rink v. Cheminova, Inc., 400 F.3d 1286, 1291
      (11th Cir. 2005) (citation and internal quotation marks omitted).
         The deferential abuse-of-discretion standard “is applied stringently,
      even if a decision on expert testimony is ‘outcome determinative.’”
      Chapman v. Procter & Gamble Distrib., LLC, 766 F.3d 1296, 1305 (11th

      Cir. 2014) (quoting Gen. Elec. Co., 522 U.S. at 142–43). Indeed, this



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      standard “is specialized and specifically addresses the narrow issue of
      the admission of reliable expert trial testimony rather than the general

      abuse-of-discretion standard implicated in other civil and criminal
      cases, which makes them not comparable.” Id. at 1305 n.8.

         A. Dr. Whitney’s expert testimony was properly limited under
            Rule 704(b).

         Federal Rule of Evidence 702 compels district courts to perform a
      critical “gatekeeping” function to ensure that expert scientific or

      technical evidence meets certain standards for admissibility. United
      States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (en banc)
      (citing Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993)). In

      addition, Rule 704(b) states that “an expert witness must not state an
      opinion about whether the defendant did or did not have a mental
      state or condition that constitutes an element of the crime charged or
      of a defense” because “[t]hose matters are for the trier of fact alone.”
         Dr. Whitney proposed to testify about his psychosexual assessment
      of Herrera and his conclusion that Herrera does not have a sexual
      interest in children. But this Court has already held that such
      testimony violates Rule 704(b).
         In United States v. Gillis, 938 F.3d 1181 (11th Cir. 2019), the
      defendant was charged—like Herrera—with attempting to knowingly
      induce or entice a minor to engage in sexual activity, in violation of




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      18 U.S.C. § 2422(b), a specific intent crime. And—like Herrera—the
      defendant sought to introduce expert testimony, based on a

      psychosexual evaluation, that he was not interested in prepubescent
      children. This Court affirmed the district court’s exclusion of such
      testimony, agreeing that the expert’s proffered opinion that the

      defendant “was not sexually attracted to prepubescent girls was simply
      a thinly veiled attempt by the defense to offer an expert opinion that
      [the defendant] lacked the requisite intent for” his § 2422(b) charge.

      Id. at 1195; see also United States v. Crawford, 805 F. App’x 652, 656
      (11th Cir. 2020) (affirming exclusion of evidence under Rule 704(b)
      because “Crawford offers his expert’s report and testimony for nearly

      identical reasons as Gillis did”). Gillis applies directly to Herrera’s
      identical effort and forecloses this appeal.
         Herrera makes a conclusory effort to distinguish Gillis on grounds
      that the “facts sought to be elicited by the defense were of a different
      nature” and “the scope of [the expert’s] testimony appeared to be, at
      least potentially, far broader than what was proffered in this case.”
      (Def. Br. at 13, 17). Herrera’s brief does not elaborate on these
      purported distinctions, which cannot be squared with the plain
      holding of Gillis. Citing Rule 704(b), the same rule the district court
      relied on here, this Court stated:




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         The district court determined that Dr. Sullivan’s proffered
         opinion that Gillis was not sexually attracted to prepubescent
         girls was simply a thinly veiled attempt by the defense to offer
         an expert opinion that Gillis lacked the requisite intent for the
         enticement offense in Count 1. We see no clear error in the
         district court’s determination that Dr. Sullivan’s proffered
         testimony would do more than “leave[ an] inference for the jury
         to draw,” and instead veered into the impermissible territory of
         offering an opinion on Gillis’s mental state.


      Gillis, 938 F.3d at 1195. The district court here reached the same
      conclusion and did not abuse its discretion.

         Nor is Herrera’s cause advanced by his citations to precedent from
      other Circuits. Not only are these cases factually inapt, they cannot
      alter this Court’s obligation to follow its own precedent.2 In United

      States v. Hite, 769 F.3d 1154 (D.C. Cir. 2014), cited repeatedly by
      Herrra, the court held that the defendant’s expert witness should have
      been allowed to testify that the defendant did not suffer from any of
      the psychiatric conditions that are “associated with a desire to have
      sexual contact with children or that may predispose an individual to


         2
            This Court’s prior panel precedent rule holds that “a prior
      panel’s holding is binding on all subsequent panels unless and until it
      is overruled or undermined to the point of abrogation by the Supreme
      Court or by this court sitting en banc,” and intervening Supreme
      Court or en banc precedent can overrule a prior panel decision only if
      it is “clearly on point.” United States v. Archer, 531 F.3d 1347, 1352
      (11th Cir. 2008).



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      want to engage in sexual activity with a child,” and on the relationship
      between viewing child pornography and sexual interest in children. Id.

      at 1168. But the reasoning for admitting this testimony was that “the
      central focus of Hite’s defense was that he was fantasist with no real
      sexual interest in children.” Id. at 1169-70. The court concluded that

      the expert should have been allowed to testify because “it can shed
      light on what may be an unfamiliar topic to most jurors.” Id. at 1170.
      The court explained that “[w]hile [the expert] may not testify that Hite

      lacked the requisite intent, expert testimony that generally explains
      the world of sexual fantasy on the [i]nternet is permissible.” Id.
      (citation omitted). But this defense—that the text messages with the

      FBI agent were part of a sexual fantasy with no intent to act—was not
      Herrera’s defense.3
         Similarly, the Seventh Circuit in United States v. Gladish, 536 F.3d
      646 (7th Cir. 2008)—in a case in which the evidence was merely of
      “explicit sex talk” with no travel by the defendant—would have
      permitted expert psychological evidence that, even if the defendant
      had expressed in the online chats an intent to engage in child sex


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           In United States v. Stahlman, 934 F.3d 1199 (11th Cir. 2019), this
      Court—in dicta—recognized the possibility of a narrow “online
      fantasy” defense, citing Hite and Gladish. Id. at 1221, n.9. But the Hite
      or Gladish defense is not the testimony Herrera intended Dr. Whitney
      to offer and that testimony was properly limited under Gillis.



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      abuse, he had a psychological condition that led him to engage in
      “sexual gratification in Internet chat rooms and in watching

      pornographic films” without going further. Id. at 650. Setting aside
      whether such evidence could be properly admitted under this Court’s
      precedent, this was not the defense presented by Herrera or the type

      of evidence proffered.
         Instead, Dr. Whitney’s testimony would have gone directly to the
      question of Herrera’s intent in communicating with SA Perry and

      traveling to the Waffle House, a matter for the jury alone. Rule 704(b)
      and this Court’s binding precedent precluded this effort and the
      district court did not abuse its discretion by excluding this evidence.

         B. Dr. Whitney’s expert testimony was properly limited under
            Rule 403.

         Even evidence admissible under Rule 704(b) is still subject to
      exclusion under Rule 403, which provides that:

         The court may exclude relevant evidence if its probative value is
         substantially outweighed by a danger of one or more of the
         following: unfair prejudice, confusing the issues, misleading the
         jury, undue delay, wasting time, or needlessly presenting
         cumulative evidence.


      Fed. R. Evid. 403. Here, the district court found that “[t]he fact that
      Herrera’s assessment showed no indication of sexual attraction to

      children has very little probative value to the questions the jury must



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      resolve.” (Id. at 13). But the “potential prejudicial impact” was
      “substantial and undue; it could confuse the issues and mislead the

      jury by causing it to conflate Herrera’s general propensity to commit
      sexual crimes against children with his specific intent to commit the
      crime with which he is charged in this case.” (Id.). Thus, the court

      found, “Rule 403 alone is a sufficient and independent basis to
      exclude Dr. Whitney’s proffered testimony in this regard.” (Id. at 14).
         Rule 403 decisions fall “squarely within the ambit of the district

      court’s sound discretion.” United States v. Jernigan, 341 F.3d 1273,
      1285 (11th Cir. 2003); see also id. (“[T]he district court is uniquely
      situated to make nuanced judgments on questions that require the

      careful balancing of fact-specific concepts like probativeness and
      prejudice.”). And because “[e]xpert evidence can be both powerful and
      quite misleading because of the difficulty in evaluating it,” the district
      court “in weighing possible prejudice against probative force under
      Rule 403 of the present rules exercises more control over experts than
      over lay witnesses.” Daubert, 509 U.S. at 595.
         As the district court found, the proposed expert testimony had a
      potent risk of confusing the issues and misleading the jury by causing
      it to conflate Herrera’s general propensity to commit sexual crimes
      against children with his specific intent to commit the crime with
      which he is charged in this case. See Crawford, 805 at 656 (finding that



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      the district court properly excluded evidence of the defendant’s
      mental state that he had no sexual interest in minors because “the

      dangers that it would confuse the issues and mislead the jury
      substantially outweighed any arguable probative value”). The district
      court did not abuse its wide discretion.

      2. The district court did not err in excluding testimony about how
         Herrera’s girlfriend groomed herself before sex.

         Herrera also offers a cursory complaint that the district court did

      not allow his girlfriend to testify “regarding their sex life.” (Def. Br. at
      11). But the record refutes this contention, as his girlfriend was
      permitted to testify about their six-year sexual relationship, their

      consumption of pornography, and the pornography she observed on
      his phone and computer. (Doc. 143 at 633-639). The district court
      sustained the government’s objection to only a single question:

         Q. Before you had sex, was there anything about your
         appearance or the way that you had groomed yourself that you
         mentioned to him?
         A. Yeah. I had — I was not expecting us to have sex.
         MS. GABAY-SMITH: Objection, Your Honor.
         MR. YOUNG: Your Honor, this is directly related to his
         interest in children or whether he has it or not.
         THE COURT: Sustained.




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      (Id. at 635). The district court sustained no other objections to the
      girlfriend’s testimony or exclude any proffered testimony from her.

      (Id. at 633-639).
         Herrera’s brief offers little argument on why the exclusion of an
      answer to this single question constituted an abuse of discretion. The

      grooming habits of Herrera’s girlfriend before the first time they had
      sex could shed little light on whether Herrera intended to engage in
      the charged crime. If Herrera’s argument was that his sexual interest

      was in adult women rather than children—which are not mutually
      exclusive and Herrera offered no evidence that they were—he admitted
      evidence that he had an active sexual relationship with an adult

      woman for six years and that he collected and viewed adult
      pornography. (Id. at 633-639). If Herrera was attempting to suggest
      that—because he did not have his adult girlfriend groom herself like a
      child—he did not have a sexual interest in children, this tenuous
      evidence was properly excluded under Rules 401 and 403.
         Herrera fails to show any abuse of discretion and, as shown below,
      any error in excluding the answer to this single question was harmless.

      3. Any error in limiting testimony about Herrera’s general sexual
         interest in children was harmless.

         Even if the district court abused its wide discretion in limiting Dr.
      Whitney’s proffered expert testimony or sustaining the objection to a




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      single question of Herrera’s girlfriend—and it did not for the reasons
      stated above—any error was harmless. This Court applies the harmless

      error standard to erroneous evidentiary rulings. United States v.
      Henderson, 409 F.3d 1293, 1300 (11th Cir. 2005). An error is harmless
      unless it had a substantial influence on the case’s outcome or leaves a

      grave doubt as to whether the error affected the outcome. Id.; see also
      28 U.S.C. § 2111 (“On the hearing of any appeal or writ of certiorari
      in any case, the court shall give judgment after an examination of the

      record without regard to errors or defects which do not affect the
      substantial rights of the parties.”).
         Here, the limitations the district court placed on Dr. Whitney’s

      proffered expert testimony did not have a substantial influence on the
      outcome. See, e.g., United States v. Mathis, 264 F.3d 321, 335 (3d Cir.
      2001) (“Although we believe that portions of [the expert’s] proffered
      testimony should have been admitted, we also find that, in the context
      of the record as a whole, his testimony was highly unlikely to have
      caused a different result.”).
         First, Dr. Whitney was allowed to testify extensively about ASD
      generally, how ASD affects a person’s demeanor, how ASD is
      diagnosed, his evaluation and determination that Herrera had ASD,
      his observations of Herrera, and specific autistic traits that he found
      in Herrera. (Doc. 143 at 504-541). Similarly, Herrera’s girlfriend was



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      allowed to testify about their six-year sexual relationship and Herrera’s
      interest in adult pornography. (Id. at 633-639).

         Second, at the level of abstraction that Herrera’s witnesses
      proposed to testify, there is little reason to think that this testimony—
      whatever Herrera’s general sexual interest may have been—or his

      girlfriend’s testimony about her grooming habits would have altered
      the jury’s view of the evidence of guilt in this incident: the explicit
      messages that he exchanged with SA Perry, the STD test found

      opened on his phone, and the corroborating evidence of child erotica
      and suspected child pornography on his phone. See Mathis, 264 F.3d
      at 344 (even if excluded expert testimony would cause a jury to have

      “reasonable cause to doubt” a single witness, considering the
      corroborating evidence it was “highly improbable that a jury that
      voted to convict without the aid of [expert] testimony, would, had it
      heard that testimony, have reached a different verdict.”).
         Third, Herrera took the stand and testified about his intent and
      his sexual interests, which the jury was free to disbelieve and use as
      substantive evidence of his guilt. See Crawford, 805 F. App’x at 655
      (finding “any error was harmless given the substantial evidence
      presented at trial, including Crawford’s electronic messages and his
      testimony about his intent, which the jury was free to disbelieve”).




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         The properly excluded testimony—abstract and of tenuous value—
      would not have changed the outcome of this case.

                               CONCLUSION

         The United States respectfully requests that this Court affirm
      Herrera’s conviction and sentence.


                                           Respectfully submitted,

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